             Case MDL No. 3089 Document 217 Filed 10/25/23 Page 1 of 4




                       BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION




    In re: ORAL PHENYLEPHRINE                                            MDL No. 3089
            MARKETING AND SALES
            PRACTICES LITIGATION


    INTERESTED PARTY RESPONSE OF PLAINTIFFS RACHEL PARKER, RICHARD
    SCOFFIER, ARCHANATEP BOONPARN, AND HARDOLY NYANJOM IN SUPPORT
      OF MOTION FOR TRANSFER OF ACTIONS PURSUANT TO 28 U.S.C. § 1407
        FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

        Pursuant to Rule 6.2(e) of the Rules of Procedure for the Judicial Panel of Multidistrict

Litigation (“Panel”), the following Plaintiffs respectfully submit this Response to the Motion to

Transfer (ECF 1): (i) Plaintiff Rachel Parker, Case No. 2:23-cv-03633 (E.D. Pa.) (Scott, J.);

(ii) Plaintiff Richard Scoffier, Case No. 2:23-cv-20529 (D.N.J.) (Almonte, J.), (iii) Plaintiff

Archanatep Boonparn, Case No. 1:23-cv-6936 (E.D.N.Y.) (Chen, J.); and (iv) Plaintiff Harold

Nyanjom, Case No. 2:23-cv-02426 (D. Kan.) (Teeter, J.).

        Support of Transfer. Plaintiffs Parker, Scoffier, Boonparn, and Nyanjom agree with the

Motion to transfer, and support coordination or consolidation of all actions pursuant 28 U.S.C.

§ 1407. Plaintiffs will not belabor the key points favoring centralization, other than to reiterate

that all pending related cases involve common questions of fact; that the most common questions

center on the ineffectiveness of oral phenylephrine to treat nasal decongestion; that the pending

actions involve many common and overlapping questions of law; and that this Panel has

centralized similar drug efficacy or contamination cases many times, including several times in

the last few years alone. 1 This includes matters involving multiple manufacturers and sellers, as


1
 See, e.g., In re Acetaminophen – ASD/ADHD Products Liab. Litig., MDL No. 3043 (over-the-counter acetaminophen
products); In re Chantix (Varenicline) Marketing, Sales Practices & Prods. Liab. Litig. (No. II), MDL No. 3050

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              Case MDL No. 3089 Document 217 Filed 10/25/23 Page 2 of 4




is the situation here. 2

        There also is no question that centralized proceedings will conserve the parties’ and judicial

time and resources. There already are dozens of overlapping matters strewn across the country,

naming different combinations of defendant manufacturers and retail sellers. Centralization will

permit all cases to be overseen in a singular, efficient manner that will avoid conflicting results

and wasted judicial resources.

        Support for the Eastern District of Pennsylvania. Plaintiffs support the Eastern District

of Pennsylvania as an appropriate forum for centralization. Many defendants in in the related cases

are incorporated or headquartered in the Northeastern United States, and in the Delaware Valley

specifically. To name but a few, these include Rite-Aid Corporation, Haleon f/k/a GSK Consumer

Healthcare, Reckitt Benckiser US Health LLC, Bayer Corp., and others.

        Plaintiff Parker’s case was the first-filed case in the Eastern District of Pennsylvania, and

was assigned to the Hon. Kai Niambi Scott. Judge Scott, who is not overseeing any MDL

currently, is an able jurist well-situated to oversee the actions. All of the MDLs currently pending

in the Eastern District of Pennsylvania save for one (MDL No. 3074) are quite mature and have

largely wound down or are winding down.

        While Plaintiffs do not disagree with the Motion to Transfer that the District of New Jersey

makes geographic sense given multiple defendants’ connections to the Northeastern United States,

a number of very large and active MDLs already are pending in the District of New Jersey,

including the Talcum Powder litigation (MDL No. 2738), the Valsartan litigation (MDL No.


(prescription drug); In re Zantac (Ranitidine) Prods. Liab. Litig., MDL No. 2924 (prescription and over-the-counter
drugs); In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., MDL No. 2875) (prescription drugs); In re
Testosterone Replacement Therapy Prods. Liab. Litig., MDL No. 2545 (prescription drugs).
2
  See, e.g., In re Acetaminophen – ASD/ADHD Products Liab. Litig., MDL No. 3043 (multiple defendant retail
sellers); In re Zantac (Ranitidine) Prods. Liab. Litig., MDL No. 2924 (multiple defendant manufacturers and retail
sellers); In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., MDL No. 2875) (multiple defendant
manufacturers, wholesalers, and retail sellers).

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              Case MDL No. 3089 Document 217 Filed 10/25/23 Page 3 of 4




2875), the Breast Implant litigation (MDL No. 2921), and most recently the Insulin Pricing

litigation (MDL No. 3080). The Eastern District of Pennsylvania also compares favorably to the

District of New Jersey in terms of the Federal Judicial Center’s most recent caseload statistics.3

All of the usual convenience-of-travel considerations also weigh in favor of the Eastern District of

Pennsylvania (i.e., Philadelphia).

         Alternatively, Support for the Eastern District of New York. In the alternative to the

Eastern District of Pennsylvania, Plaintiffs alternatively support the Eastern District of New York.

Aside from being where multiple related actions already have been filed (including Plaintiff

Boonparn’s action, No. 1:23-cv-6936 (E.D.N.Y.), which is assigned to the Hon. Pamela K. Chen),

and aside from being very proximate to multiple defendants’ operations in the Northeast, the

manufacturer of the phenylephrine ingredient in several defendants’ products at issue is located in

Happauge, New York, 4 which is within the Eastern District of New York. The Eastern District of

New York’s MDL caseload and overall case statistics also compare favorable to those for the

District of New Jersey. 5


Dated: October 25, 2023
                                                      /s/ Ruben Honik
                                                      Ruben Honik
                                                      Honik LLC

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  For example, there are 63,445 pending cases in the District of New Jersey, as opposed to 8,155 in the Eastern Ditrict
of Pennsylvania. See FEDERAL COURT MANAGEMENT STATISTICS, COMBINED CIVIL AND CRIMINAL FEDERAL COURT
MANAGEMENT STATISTICS (June 30, 2023), at https://www.uscourts.gov/statistics/table/na/federal-court-
management-statistics/2023/06/30-3.
4
  CVS, Walgreens, and Walmart, for instance—each of which is a defendant in various related pending actions—each
sold their own brand of oral phenylephrine drugs, each of which sourced phenylephrine manufactured by LNK
International, Inc. See https://www.accessdata.fda.gov/spl/data/67e76c15-dc4d-4b80-a1e9-233c82d9c6f1/67e76c15-
dc4d-4b80-a1e9-233c82d9c6f1.xml;https://www.accessdata.fda.gov/spl/data/c51e8ecf-c0bd-4f67-8751-
980b63cde037/c51e8ecf-c0bd-4f67-8751-980b63cde037.xml;https://www.accessdata.fda.gov/spl/data/4762e733-
3295-4222-a825-2a39fe922b23/4762e733-3295-4222-a825-2a39fe922b23.xml. LNK touts itself as “one of the
nation’s largest manufacturers of solid and liquid dose, over-the-counter (OTC) pharmaceuticals, and is headquartered
in Happauge, New York. See https://www.lnkintl.com/contact-us.
5
  See FEDERAL COURT MANAGEMENT STATISTICS, COMBINED CIVIL AND CRIMINAL FEDERAL COURT MANAGEMENT
STATISTICS (June 30, 2023), at https://www.uscourts.gov/statistics/table/na/federal-court-management-
statistics/2023/06/30-3.

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Case MDL No. 3089 Document 217 Filed 10/25/23 Page 4 of 4




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